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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



 MARGARITA VAN BUREN,

 Plaintiff,


 vs.                                            Case No.: 10-23175-CIV-Moreno/Tornes
 ENHANCED RECOVERY
 COMPANY, LLC,

 Defendant.
 _________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: September 29, 2010                     Respectfully submitted,


                                               /s Andrew I. Glenn
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